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 AO I06 (Rev. 04/ l0) Applicalio. for a Search Warranl (USAO CDCA Rev 0I /20I3)


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                                        UNrreo Srarps DrsrRrcr Counr
                                                                       for the
                                                            Westem District of Oklahoma

                ln the Matter ofthe Search of
                                                                           )
            (Briefly describe the prow y to be searched
                                                                                      Case No. M-24- 398
             or idenlilt) lhe person by name and address)                  )
                                                                           )                                           -STE
   Apple iPhone 13 Pro Max with lMEl 3526534483001200                      )
currently located at Bureau ofAlcohol, Tobacco, Firearms, and              )
 Explosives 901 N.E. 122nd Street, Suite 200 Oklahoma City,
                                                                           )
                        Oklahoma 731 '14
                                              APPLICATION FOR A SEARCH WARRANT
         I, a federal law enforcement officer or an attomey for lhe government, request a search warrant and state under
 penalty ofperjury lhat I have reason to believe that on the following person or property (identi,fy the person or describe the
property to be searched and give its location):

     See Attachment A

 located in the              Western              District of                  Oklahoma                 . there is now concealed tidentily the
person or describe the proryrD/ to be seized):

     See Attachment B


            The basis for the search under Fed. R. Crim. P. 4l (c) is kheck one or more)i
                   devidence of a crime;
                   dconrraband, fruits of crime, or other items illegally possessed;
                      p.op".ty designed for use, intended for use, or used in committing a crime;
                   D a person to be arrested or a person who is unlawfully restrained.
            The search is related to a violation of:

           Code Section                                                              Offense Description
18 U.S.C. S922(gX1)                                                                   Feton in possession ofa Firearm
18 U.S.C. S924(cX1XA)(i)                                                                  possession of Firearms in Furthe.ance of a Dn g-Trafficking

21 u.s.c. S841(aX1)                                                                       Bl*Ssston witr rntent ro oisrribure
            The application is based on these facts:
        See attached Affidavit ofATF SpecialAgent, David McCauley, which is incorporated by reference herein.


            d Continued on the attached sheet.
            ! Delayed notice of _ days (give exact ending date if more than 30 days: _                                             ) is requested
                 under l8 U.S.C. g 31034 the basis of which is set forth on the attached sheet.



                                                                                                                  J'

                                                                                            David McCauley, Special Agent, ATF
                                                                                                       Printed name akd title

Swom to before me and signed in my presence


Date           May 2, 2024
                                                                                                         hdge's sighature

Citv and state: Oklahoma City, Oklahoma                                                    Shon T. Erwin, U.S. Magistrate Judge
                                                                                                       Printed name and title
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                            IN THE UNITED STATES DISTRICT COURT
                            FOR WESTERN DISTRICT OF OKLAHOMA

IN THE MATTER OF THE SEARCH OF
APPLE IPHONE 13 PRO MAX WITH
IMEI 3526534483001200 CURRENTLY
LOCATED AT BUREAU OF ALCOHOL,
                                            MJ-24-398-STE
                                  Case No. ____________________
TOBACCO, FIREARMS, AND
EXPLOSIVES 901 N.E. 122ND STREET,
SUITE 200, OKLAHOMA CITY,
OKLAHOMA 73114


                   AFFIDAVIT IN SUPPORT OF A SEARCH WARRANT

         I, David J. McCauley Jr., being first duly sworn, hereby depose and state as

follows:

         1.       I make this affidavit in support of an application under Rule 41 of the

Federal Rules of Criminal Procedure for a search warrant authorizing the examination of

property—an electronic device identified below and in Attachment A, which is currently

in law enforcement possession—and the extraction from that property of electronically

stored        information    described   in   Attachment   B,   which   constitute   evidence,

instrumentalities, and fruit of violations of 18 U.S.C. §§ 922(g)(1), 924(c) and 21 U.S.C.

§ 841(a)(1).

         2.       I am employed as a Special Agent with the United States Department of

Justice, Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) and have been so

since June, 2018.       Prior to Employment with ATF, I was employed by the Hampton

Police Department since 2011 as a Police Patrol Officer. I have been employed in law

enforcement for over 13 years. I am a graduate of the Federal Law Enforcement Training
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Center and the ATF National Academy; because of my training and experience as an ATF

Special Agent, I am familiar with Federal criminal laws. I am currently assigned to the

Oklahoma City Field Office and am charged with investigating violations of Federal Law,

including violations of the Gun Control Act of 1968, as amended (Title 18, United States

Code, Sections 921 et seq.), explosives, arson, alcohol, and tobacco laws.

       3.       I am submitting this Affidavit in support of a search warrant authorizing a

search of one cellular telephone: an Apple iPhone 13 Pro Max with IMEI

3526534483001200 (hereinafter SUBJECT              PHONE),      as further described      in

Attachment A, which is incorporated into this Affidavit by reference. The ATF has

custody of the SUBJECT PHONE in Oklahoma City, Oklahoma. I am submitting this

Affidavit in support of a search warrant, which would authorize the forensic examination

of the SUBJECT PHONE for the purpose of identifying electronically stored data that is

particularly described in Attachment B, which constitute instrumentalities, evidence, and

fruits of violations of Possession of a Firearm by a Convicted Felon (18 U.S.C.

§ 922(g)(1)), Possession of Firearm(s) in Furtherance of a Drug Trafficking Crime (18

U.S.C. § 924(c)) and Possession with Intent to Distribute Controlled Substances (21

U.S.C. § 841(a)(1)).

       4.       Based on my training, experience, and the facts set forth in this Affidavit,

there is probable cause to believe that violations of 18 U.S.C. §§ 922(g)(1), 924(c) and 21

U.S.C. § 841 have been committed by Tera Michell Warren (WARREN) and others.



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There is also probable cause to search the property described in Attachment A for

instrumentalities, evidence, and fruits of these crimes, as described in Attachment B.

       5.       Since this affidavit being submitted for the limited purpose of securing a

search warrant, I have not included each and every fact known to me regarding this

investigation. I have set forth only the facts that I believe are necessary to establish

probable cause to support the issuance of a search warrant. The information contained in

this Affidavit is based upon my personal knowledge and observation, my training and

experience, conversations with other law enforcement officers, and review of documents

and records.

                                  PROBABLE CAUSE

       6.       On February 3, 2024, state law enforcement was conducting surveillance at

WARREN’s residence, located at 1033 NW 167th Street, Edmond, Oklahoma. Agents

were conducted the surveillance based on information that WARREN was involved in the

distribution of controlled substances.

       7.       In the course of this surveillance, law enforcement observed a black

Cadillac Escalade bearing Cheyenne and Arapho tribal license plate 029707 park in from

of WARREN’s residence. The driver of the vehicle exited his vehicle and walked to the

garage, where law enforcement observed him meet with WARREN. In the course of the

meeting, law enforcement observed several items being exchanged between WARREN

and the driver, before the driver re-entered his vehicle and departed.



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       8.       Law enforcement followed the black Escalade from WARREN’s residence

and performed a traffic stop. In the course of this traffic stop, a K-9 gave a positive alert

for the odor of narcotics. Upon a search of the vehicle, law enforcement found and seized

approximately 15 grams of methamphetamine.

       9.       Following this traffic stop, law enforcement obtained a state search warrant

for WARREN’s residence. The warrant was executed by state law enforcement the same

day. In the course of the search, law enforcement recovered approximately 2 pounds of

marijuana;, 2.6 grams of fentanyl; 7 grams of methamphetamine; and a Smith & Wesson,

Model 469, 9mm caliber pistol, bearing serial number A869332.

       10.      Upon completion of the search, WARREN was interviewed by law

enforcement at her residence. Following the advisement of her Miranda rights,

WARREN agreed to speak with law enforcement. In the course of the interview,

WARREN (i) admitted knowledge of having previously been convicted of a felony;

(ii) admitted that she knew she could not have a firearm; and (iii) admitted that she

owned the firearm for protection. WARREN further stated that the methamphetamine and

fentanyl were hers, but she stated that she believed the fentanyl was powder

methamphetamine. She stated that she was holding the marijuana for another individual.

       11.      On April 25, 2024, law enforcement arrested WARREN in Edmond,

Oklahoma, pursuant to a federal arrest warrant. The federal arrest warrant was issued in

conjunction with an indictment in Case Number CR-24-171-R. At the time of her arrest,

WARREN was in possession of the SUBJECT PHONE.

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       12.    Based upon my training and experience, I am aware that individuals

involved in trafficking illegal drugs often use cell phones to maintain contact with other

co-conspirators, including suppliers, transporters, distributors, and purchasers of illegal

narcotics. Such cell phones and their associated memory cards commonly contain

electronically stored information which constitutes evidence, fruits, and instrumentalities

of drug trafficking offenses including, but not limited to, the phone directory and/or

contacts list, calendar, text messages, e-mail messages, call logs, photographs, and

videos.

       13.    Based on my training and experience, I know that individuals involved in

trafficking illegal drugs often take and store photographs of controlled substances and the

proceeds of drug sales, and usually take and store these photographs using their cell

phones.

       14.    Based on my training and experience, I am aware that individuals involved

in the illegal possession of firearms utilized their cell phones (and applications on their

phone) to communicate with others to acquire firearms through illegal means. I am

further aware that individuals involved in the illegal possession of firearms will often

take and store photographs of their firearms or other firearms available for purchase.

These individuals will usually take and store these photographs using their cell phones.

       15.    Based on my training and experience, I know that individuals involved in

trafficking illegal drugs or in the illegal possession of firearms will maintain financial

information on their phone to send and receive money, maintain ledgers and logs, record

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photographs and videos of contraband, and conduct internet searches to assist in the

furtherance of their illegal criminal acts. I further know that cellular phones often contain

GPS mapping information related to their criminal activity.

       16.    Based on my training and experience, I know that electronic devices like

the SUBJECT PHONE can store information for long periods of time. Similarly, things

that have been viewed via the Internet are typically stored for some period of time on the

electronic device. This information can sometimes be recovered with forensic tools. This

is true even if the user of the electronic device deleted the file. This is so because when a

person “deletes” a file on a computer or electronic device, the data contained in the file

does not actually disappear; rather, the data remains on the storage medium until it is

overwritten by new data.

       17.    The SUBJECT PHONE is currently in the possession of the ATF. The

SUBJECT PHONE came into the possession of the ATF through the lawful arrest of

WARREN. The SUBJECT PHONE is currently in storage at the ATF Field Office in

Oklahoma City, located at 901 N.E. 122nd Street, Suite 200.             In my training and

experience, I know that the SUBJECT PHONE has been stored in a manner in which its

contents are, to the extent material to this investigation, in substantially the same state as

they were when the Devices first came into the possession of law enforcement.

       18.    Based on the above information, there is probable cause to believe that

violations of 18 U.S.C. §§ 922(g)(1), 924(c) and 21 U.S.C. § 841(a)(1) have occurred,

and that evidence, fruits, and instrumentalities of these offenses are located on the

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SUBJECT PHONE.           Therefore, I respectfully request that this Court issue a search

warrant for the SUBJECT PHONE, described in Attachment A, authorizing the seizure

of the items described in Attachment B.

       19.    Based on the foregoing, and consistent with Rule 41(e)(2)(B), the warrant I

am applying for would permit the examination of the SUBJECT PHONE consistent

with the warrant. The examination may require law enforcement to employ techniques,

including but not limited to computer-assisted scans of the entire medium, which might

expose many parts of the SUBJECT PHONE to human inspection in order to determine

whether it is evidence described by the warrant.

       20.    Because the warrant seeks only permission to examine devices already in

law enforcement’s possession, the execution of this warrant does not involve the physical

intrusion onto a premises. Consequently, I submit there is reasonable cause for the Court

to authorize execution of the warrant at any time in the day or night.




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                                   CONCLUSION


      21.    I submit that this affidavit supports probable cause for a search warrant

authorizing the examination of the SUBJECT PHONE described in Attachment A to

seek the items described in Attachment B.


                                                Respectfully submitted,



                                                David J. McCauley Jr.
                                                Special Agent
                                                ATF

      Subscribed and sworn to before me
      on May 2, 2024:

      _________________________________________
      SHON T. ERWIN
      UNITED STATES MAGISTRATE JUDGE




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                                    ATTACHMENT A


       The property to be searched is an Apple iPhone 13 Pro Max with IMEI 3526534483001200

hereinafter referred to as “The Device”. The Device is currently located Bureau of Alcohol,

Tobacco, Firearms, and Explosives (ATF) 901 N.E. 122nd Street, Suite 200, Oklahoma City,

Oklahoma 73114


       This warrant authorizes the forensic examination of the Device for the purpose of

identifying the electronically stored information described in Attachment B.
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                                           ATTACHMENT B


       1.      All records on the Device described in Attachment A that relate to violations of

federal law to include Possession of a Firearm by a Convicted Felon [18 U.S.C. 922(g)(1)],

Possession of Firearm(s) in Furtherance of a Drug Trafficking Crime [18 U.S.C. 924(c)] and

involve WARREN and other unknown persons, including:


            a. Communications with subjects related to firearms and narcotics trafficking and

               other illegal activities;


            b. Information to include multi-media related to the acquisition and disposition of

               narcotics and firearms;


            c. Information related to financial payments and proceeds related to narcotics and

               firearms trafficking and other illegal activities;


            d. The identity of subjects both identified and unidentified involved in the criminal

               conspiracy


            e. any information recording Tera WARREN’s schedule or travel from 2023 to the

               present;


            f. all bank records, checks, credit card bills, account information, and other financial

               records.


       2.      Evidence of user attribution showing who used or owned the Device at the time the

things described in this warrant were created, edited, or deleted, such as logs, phonebooks, saved

usernames and passwords, documents, and browsing history;
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       As used above, the terms “records” and “information” include all of the foregoing items of

evidence in whatever form and by whatever means they may have been created or stored, including

any form of computer or electronic storage (such as flash memory or other media that can store

data) and any photographic form.
